                     Case 1-18-41406-cec                                Doc 13               Filed 04/13/18                     Entered 04/13/18 15:31:19




   Fill in this information to identify your case:


   Debtor 1          CEASAR                                                               ANTHONY JR
                      First Name                         Middle Name                      Last Name

   Debtor 2
   (Spouse, If filing) F,rst Name                        Middle Name                      Last Name


   United States Bankruptcy Court for the: Eastern District of New York                                                                                                          flt".,... .- ...


   Case number          (-
                       (lfknownl
                                    IP- '-f (4 0 ~ -                       cec                                                                             -- :, -~: ; \ ' ,::o ·check if this is an
                                                                                                                                                         ,. ~'.::~ \J ~ •     >.;.

                                                                                                                                                                                                    amended filing




 Official Form 106S um
 Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                                   12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
 your original forms, you must fill out a new Summary and check the box at the top of this page.


•:..:, • •   ~   Summarize Your Assets


                                                                                                                                                                                v~uf';~s.~~s,r\:°i :_'_:, ..
                                                                                                                                                                                Value
                                                                                                                                                                                .
                                                                                                                                                                                      .bf. whatc'you
                                                                                                                                                                                     . . .    ' . . ' ,.. ..
                                                                                                                                                                                                       :own    ~




  1. Schedule AIB: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/8 ...................................... : .............................................,.................... .               $         Yis', V(b.
      1b. Copy line 62, Total personal property, from Schedule A/8 ...............................................................................................                        $         ;l l{ / l{7. 7'~
      1c. Copy line 63, Total of all property on Schedule AIB .........................................................................................................
                                                                                                                                                                                          $   5lJ~I 1'-f7-           t'
•:..: .. - ~ Summarize Your Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
      2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ........... .                                                    $   6SJ7, O;J.J. 0 '3
 3. Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
      3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF ........................................... .
                                                                                                                                                                                          $ _ _ _ _ __    0
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EIF .......................................
                                                                                                                                                                                     +    $__             t)
                                                                                                                                                                                                          __

                                                                                                                                             Your total liabilities



•--. ,..,.,_ Summarize Your Income and Expenses


 4. Schedule I: Your Income (Official Form 1061)
      Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

 5. Schedule J: Your Expenses (Official Form 106J)
      Copy your monthly expenses from line 22c of Schedule J ....................................................................................................                         $         tt ( ~o.


 Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                                   page 1 of 2
                   Case 1-18-41406-cec                     Doc 13        Filed 04/13/18              Entered 04/13/18 15:31:19



   Debtor 1     CEASAR                                              ANTHONY JR                   Case number (ii known)
                 First Name     Middle Name        Last Name




  .,.., ,r·~ Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       D No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       ~                           .




              kind of debt do you have?
                                                                                          -                                          ~------~---
                                                                                                                                    -·




       ~ r debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
        family, or household purpose." 11 U.S.C. § 101 (8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       0   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.



  -------------------------------~----------------
   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                         -Total claim·


       . F~om P<!rt ,i .on Schedule EIF, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                   $


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $



       9d. Student loans. (Copy line 6f.)                                                                 $


       9e. Obligations arising out of a separation agreement or divorce that you did not report as
                                                                                                          $
           priority claims. (Copy line 6g.)


       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$


       9g. Total. Add lines 9a through 9f.                                                                $          t9-00




Official Form 106Sum      Summary of Your Assets and Liabilities and Certain Statistical Information                                       page 2 of2
                               Case 1-18-41406-cec                                                   Doc 13                     Filed 04/13/18                    Entered 04/13/18 15:31:19



   Fill in this information to identify your case and this filing:


   Debtor 1               Ceq Sq/'
                             FlrstNeme                                      Middle Name

   Debtor 2
   (Spouse, if filing) First Nama                                           Middle Name                                  last Name


   United States Bankruptcy Court for the:                           Ct:iS~                  District of           /uew fo//c
    Case number/-/~ -                             4/({(} {e -                        C e_c_
                                                                                                                                                                                                                                            D Check if this is an
                                                                                                                                                                                                                                                   amended filing

    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                                                                                                                                12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
    category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally ·,
    responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write yolir name and case number (if known). Answer every question.

                       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

   1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         D      No. Go to Part 2.
         ~      Yes. Where is the property?



                                                                                                                                                                                             '~~~t~~~0:
                                                                                                               What Is the property? Check all that apply.
                          £" 3 1 (/°'-                                  Sl C.... l               fl~ D                  Single-family home
            1.1.                         - .           .      J/l.
                     Street address, 1f available, or other description
                                                                                        ~(1                .
                                                                                                                Iii'
                                                                                                                D       Duplex or multi-unit building
                                                                                                                                                                                                                                                                      .                           1
                                                                                                                        Condominium or cooperative                                                                                                 Current value of the i
                                                  ftJ "[               J -fc,tM;f <::/                          DD      Manufactured or mobile home
                                                                                                                        Land
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             entire property?
                                                                                                                                                                                             $        '-f (b,                     OVO.
                                                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                                                   $     l.f~s'; cJIJO .
                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                 .
                   Bruvhli1rV
                   -       --
                                                                AJ1
                                                                --
                                                                                     t/iv7
                                                                                       --
                                                                                                                Do· lnvestmentproperty
                                                                                                                                                                                             Describe the nature of your ownership
                     City                     I                  State                ZIP Code                  D Timeshare                                                                  interest (such as fee simple, tenancy by
                                                                                                                    Other _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                                                             the entireties, or a life estate), if known.
                                                                                                                Who has an interest in the property? Check one.
                                                                                                                ~tor1only ·
                                                                                                                                                                                                      I~                            ~s4,k
                     County              .                                                                      D Debtor 2 only
                                                                                                                D Debtor 1 and Debt_or 2 only                                                D Check if this is community property
                                                                                                                                                                                                     (see instructions)
                                                                                                                D At least one of the debtors and another
                                                                                                                Other Information you wish to add about this Item, such as local
                                                                                                                property identification number:_._ _ _ _ _ _ _ _ _ _ _ _ __
         If you own .or have more than one, list here:                                                                                                                                                                                                                                            !
                                                                                                                                                                                           .-,: ·~               ~ .. ·.' .. ,: ·,,;._,_:·.:.'.~·:.,;.,:"'.~,-.:..;.'.:'_'\,.r.,.. t··. :",.:;:·:·~
                                                                                                            What is the property? Check all that apply.
                                                                                                                                                                                            ',Do. hot deduct ,se·cured claims o(eiuin:ipiions; J;?_u(- -J
                                                                                                               D       Single-family home                                                     the 'amount ·ofany.secured ·claims ori Schedule· Di?: i ·
            1.2.
                     Street address, if available, or other description
                                                                                                               D       Duplex or multi-unit building                                       •~:s~~M~.;·W!lt~~v~'. ~~~j~~~r:c:~1:1{{1[~~rttt'.;_:;i
                                                                                                               D     Condominium or cooperative                                              Current value of the                                  Current value of the                           !
                                                                                                               D       Manufactured or mobile home                                           entire property?                                      portion you own?                               j
                                                                                                               D       Land                                                                  $_ _ _ _ _ _..,..                                     $_ _ _ _ _ ___.!
                                                                                                               D       Investment property

                     City                                             State            ZIP Code
                                                                                                               D       Timeshare
                                                                                                                                                                                             Describe the nature of your ownership
                                                                                                                                                                                             interest (such as fee simple, tenancy by
                                                                                                                                                                                                                                                                                                  I
                                                                                                               D       Other _ _ _ _- ' - - - - - - - - - -                                  the entireties, or a life estate), if known.                                                         I
                                                                                                                                                                                                                                                                                                  I
                                                                                                            Who has an Interest in the property? Check one.
                                                                                                                                                                                            ----------------- '.
                                                                                                               D Debtor 1 only
                     County                                                                                    D Debtor 2 only
                                                                                                               D Debtor 1 and Debtor 2 only                                                  D Check if this is community property
                                                                                                               D At least one of the debtors and another                                             (see instructions)

                                                                                                            Other information you wish to add about this Item, such as local
                                                                                                            property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __
'·---·•"'•--• •• •--·-·•v-·--•· • _.,__ ---~- ,._, --- •~ ~·· •· --~--~ --• •• •·• -··-• ,___ • -.,......_,. •·•-·•• • .. ,,. • ,_ • --- ---~---· ··-••-•-•- •   ................. _________ ...... -·   _..,.   .........................-....... _____ ..... ----··------ ..........)

    Official Form 106NB                                                                                        Schedule NB: Property                                                                                                                               page 1
                         Case 1-18-41406-cec                              Doc 13             Filed 04/13/18                     Entered 04/13/18 15:31:19


     Debtor 1                                                                                                                  . Case number (it known)       I - IJ - '{ {<t () 0- Ce.C.
,----- ··-·- -···----- ·-· ·--·--·-- ···--------·····
'
i


          1.3.
                                                         -
                 =---,---,,-,---~-.,,..-,-,----,,---,---,-,,---
                                                                    .          -~h~i::l:~::~I:~:::? Check all that apply.                           ~:~i;~:Jiu}f
                                                                                                                                                      ;
                                                                                                                                                                                  =~i:~~i~J~ii;\{0};f}ff[}}]
                                                                                                                                                          Creditors-Who Hav,e Claims.Secured byProperty.., · _. t
                 Street address, if available, or other description            O    Duplex or multi-unit building                                   '.,,,,,..;...,.. ~.-' ..-~ •..;,:~·.;.;,;..a.~.,;..,.:..~~,;.;,,.;.;:;.:,(;.;;,a.,;;.s-:"""~;;.;.-~_J
                                                                               0    Condominium or cooperative                                            Current value of the                           Current value of the                           !
                                                                               D    Manufactured or mobile home                                           entire property?                               portion you own?
                                                                               D    Land                                                              '$_ _ _ _ _ __                                     $_ _ _ _ _ __

                                                                               D    Investment property
                 City                                   State       ZIP Code   O    Timeshare                                                             Describe the nature of your ownership
                                                                                                                                                          interest (such as fee simple, tenancy by
                                                                               D    Other _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                          the entireties, or a life estate), if known.
                                                                               Who has an interest in the property? Check one.
                                                                               D Debtor 1 only
                 County
                                                                               D Debtor 2 only
                                                                               D Debtor 1 and Debtor 2 only                                               D Check if this is community property
                                                                                                                                                               (see instructions)
                                                                               D At least one of the debtors and another
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __



    2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                                                  $ (/       tf ~ t'VO .
       you have attached for Part 1. Write that number here .••..•••.•................•••.......•.........•••.•..•••.......•..••....••••..••....... ~                                                                            •




,,,,
                                                                                                                                                                                                                                     .                  !'
                                                                                                                                                                                                                                                        i




                   Describe Your Vehicles


    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
    you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


    3. Cars, vans, trucks; tractors, sport utility vehicles, motorcycles

        ~~
        l.:f"Yes
                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                        !

        3.1.     Make:                              Chr:&1S {¢                 Who has an interest in the property? Check one.                            60 not deduct secur!ld:claims or exerriptions:·p'ut
                                                                                                                                                        the amount of ari{secu'recl°claims on Schedu/e.D:: ·.
                                                                                                                                                                                                                                                       '1
                                                                                                                                                                                                                                                      ::j
                 Model:                                 3o~V                    i:::rc;;btor 1 only              ·
                                                                                                                                                      · Creditors Who Have Claims 5/icured.biProperty.__ ::                                             i
                                                        7_008                   D Debtor 2 only                                                      ~-~~..,.:,~,,.v~,,..·.: --~•·' ,·' .. ···,,.,··,.x=·"•'-·s·.,.              ·._.;,·,       "e':\;
                 Year:                                                                                                                                    Current value of the                            Current value of the 1
                                                                                D Debtor 1 and Debtor 2 only                                              entire property?                                portion you own?     j
                 Approximate mileage:                   /l-~iiJOO,              0   At least one of the debtors and another
                                                                •                                                                                                                                                                                       I

                 Other information:
                                                                                0   Check if this is community property (see                              $      3 5',oo, I.)() $ 3 5 tJ(2 t> D'.
                                                                                    instructions)                                                                ·55DIJ, OiJ 36'DD: iJtJ .

        If you own or have more than one, describe here:
                                                                                                                                                      -       ·.· ·. :-,· '. ,, :.'·'·~·. ·-, .._,_·:-: ·:·.:.-<·:;,,):,<::/._,:.::.-.. _;: -_.·!
                 Make:                                                         Who has an interest in the property? Check one. / Do not deduct s,ecured• claiins:or _exeriip_ti9nsi P.uL~: ;i
        3.2.
                                                                                                                                                     ,:.·the amount of any ,secured claims 8'rfSchedule D:-'-':-:
                 Model:
                                                                                0   Debtor 1 only                                                    ·. Creditors Who Havii:C/aims Securedby,Prop~i-iy: .·-)

                 Year:
                                                                                0
                                                                                0
                                                                                    Debtor 2 only
                                                                                    Debtor 1 and Debtor 2 only
                                                                                                                                                   · . Current val~~
                                                                                                                                                       entire property?
                                                                                                                                                                                        :~·~~~ ,          ~'u~r;~;'~~;~·e of;~~
                                                                                                                                                                                                          portion you own?      '
                                                                                                                                                                                                                                                        l
                 Approximate mileage:                                           0   At least one of the debtors and another
                 Other information:
                                                                                                                                                          $_ _ _ _ _ __                                   $_ _ _ _ _ _
                                                                                0   Check if this is community property (see
                                                                                    instructions)




·------·---~~---·----------~~-----~-------- ··~·-·"•••----• ----• ----· ··-----~··-- --··-- -----·--· 0---------~- -·----~- 0--~-- ...,,, _____ ··-·--··---~·-••••• ---- -·---· ------------H- --~---------.. -----                                         j



    Official Form 106A/B                                                         Schedule A/B: Property                                                                                                                  page2
                       Case 1-18-41406-cec                                Doc 13              Filed 04/13/18                      Entered 04/13/18 15:31:19


 Debtor 1       [e4-Sti./'
                    First Name        Middle Name
                                                                                                                               Case number (if    know)-- I f -                                C/ I C/ a~- Ce c.

     3.3.    Make:                                                           Who has an interest in the property? Check one.

             Model:                                                          0    Debtor 1 only
                                                                             0    Debtor 2 only
             Year:                                                                                                                                       Current value of the                                       Current value of the
                                                                             D Debtor 1 and Debtor 2 only
             Approximate mileage:                                                                                                                        entire property?                                           portion you own?
                                                                             D At least one of the debtors and another
             Other information:
                                                                                                                                                         $_ _ _ _ _ _ _                                             $_ _ _ _ _ __
                                                                              0   Check i'f this is community property (see
                                                                                  instructions)


                                                                             Who has an interest in the property? Check one.                              ' '· .. ' .. ·      ... ~~ .. ;; /'·\·. :,_: -. . ' ··-·; ::.,_-;_:' }.'··:~~·~" ..\'.!
     3.4.    Make:                                                                                                                                        Do rot de_duct secured clail)15· of exemptio"ns. ·Put:.. ,. f
                                                                                                                                                          \he amount of any secured cl~ims on Schedule b_::. 'i
             Model:                                                          D Debtor 1 only                                                            : CreditorsWho Have ciairris"Secured byf;'i-operty.' ::. '
                                                                             D Debtor 2 only                                                       -~"··.; . ;:;;..·. ··. -·.....,;'.·.·,,·,:·-~-. "·,. .. :.·-·.· ··1
             Year:                                                                                                                                       Current value of the                                       Current value of the I
                                                                             D Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                                           portion you own?     \
             Approximate mileage:                                            D At least one of the debtors and another
             Other information:
                                                                                                                                                         $_ _ _ _ _ __                                              $_ _ _ _ _ _ _
                                                                              D Check if this is community property (see
                                                                                  Instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
    0 No
    D    Yes

                                                                                                                                                                                                                                               ~-:,;
     4.1.    Make:                                                           Who has an Interest in the property? Check one.                            ·oo 'nOt deduct SeCUr_ea ~laiITl.~ or·e~e~pt~oris. P~i-;·. -;
                                                                             D Debtor 1 only                                                        .. ilie amount of any secur~d clai_ms):_>_r):Schedu/ri b:. · ·1
             Model:                                                                                                                                     · Creditors.Who Hav~:Clatm~- Secure'cf by.Property_: -                                   i
                                                                             D Debtor 2 only                                                        ,1··.-v-   ·.·.·.'·-:   -'~-..... ,..~· ........... ••··                  ,:··:··-.-·-~:.·.r
                                                                                                                                                                                                                    -:-;·~-·~··_.··.· ___
             Year:
                                                                             0 Debtor 1 and Debtor 2 ~nly                                                Current value of the                                       Current value of the i
             other information:                                              0    At least one of the debtors and another                                entire property?                                           portion you own?              ;


                                                                              D Check if this Is community property (see                                 $._ _ _ _ __                                               $._ _ _ _ _ __
                                                                                  instructions)



    If you own or have more than one, list here:                                                                                                                                                                                                  l
                                                                                                                                                    '     :- ,'. : _' .. • , •       •~·,t ;,."-.,~ • , :,;;_:-. ~: '~. ·.~•, t
                                                                                                                                                                                      , ~·, '<'..      I       '_   ~,   ,'



     4.2.    Make:
                                                                             Who has an Interest in the property? Check one.                        · Do nofdeducfsecurect cl!!im!, or exemptiol)s.,Put .. i
                                                                                                                                                      the amount of any ·secured c;:laims: on .Schedule D: · :
             Model:
                                                                             0    Debtor 1 only                                                       Creditors Who Have'C/aiirfs·seclired by Property.. ,:-.\
                                                                             D Debtor 2 only                                                        :~--- ---- ·_,. . , . . ..,.. ~,.,.·_,·: .. <~' / ·._,. ,~· .··.· · ,...,. ··. ..,. .·. -~
             Year:                                                                                                                                       Current value of the                                       Current value of the !
                                                                             0    Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                                           portion you own?             l
             Other information:                                              D At least one of the debtors and another
                                                                                                                                                         $._ _ _ _ __                                               $_ _ _ _ __
                                                                             0    Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, Including any entries for pages
   you have attached for Part 2. Write that number here ........................................................................................................................ ~




 Official Form 106NB                                                          Schedule A/B: Property                                                                                                                             page 3
                                Case 1-18-41406-cec                                                      Doc 13         Filed 04/13/18           Entered 04/13/18 15:31:19


   Debtor 1                                                                                                                                      Case number (if knoivn)




                        Describe Your Personal and Household Items

 :oi\9u
  .  '"
        own ,or have
          ~, '·   -. any leg'aI_ or equitable intereshn any of the following items?
                       . .        .     ,      .   .   ..    .   ~--·   .   ,''•   .   '   ,         ,     '    ,   .             ·,,·       .




  6. Household goods and furnishings
          Examples: Major appliances, furniture, linens, china, kitchenware
          0                                                                                                                              '

          ~M.                Describe       ••·•   I f ulfl<. L,N !                                      C./,u';,.~/~     K•i<::fM0 w•<U~·-- -------~----J                                        $
 7. Electronics
          Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                    collections; electronic devices including cell phones, cameras, media players, games

                                                                                                                                                                                                                      I
          ~                  Desorlbe........      lf e. I evtS likl S / {Ld.Uf/1;- I C.o""f.4,.,-J                                                                                               $   /55D.         04
  8. Collectibles of value



          Z
              am /es: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
                  No
          0       Yes. Describe .. :...... .                                                                                                                                                      $_ _ _ _ _ __


  9. Equipment for sports and hobbies
          Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
          ~ and kayaks; carpentry tools; musical instruments


          D       Yes. Describe ......... .                                                                                                                                                       $_ _ _ _ _ _ __


  1o. Firearms
          E x ~ : Pistols, rifles, shotguns, ammunition, and related equipment
          0N~
          0       Yes. Describe ......... .                                                                                                                                                       $_ _ _ _ _ _ __


  11.Clothes
          Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          0
          0
                  No
                  Yes. Describe .......... [            ev           J
                                                                  eft,
                                                            --------t ' 7
                                                                                               Q .


  12.Jewelry
          Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                    gold, silver
          0       No
                                                                                                                                                                                                  $_ _ _ _ _ _ _ __
          0       Yes. Describe ......... .

  13. Non-farm animals
          Examples: Dogs, cats, birds, horses

          D       No
          0       Yes. Describe ......... .                                                                                              _ _ _ _ _ _ _J                                           $_ __


  14.Any other personal and household items you did not already list, including any health aids you did not list

          0       No
          0       Yes. Give specific                                                                                                                                                              $_ _ _ _ _ _ _ _ ,
                  information ............. .
                                                   ~----------------------------------~                                                                                                                .              i
  15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                  $
    · for Part 3. Write that number here .................................................................................................................................................... ~
'·--··-·---------- ----------·------··------------ - --------- --- ------------------------- ------·- - ... ---------------· ------- ·-------------------..------------------·----'
                                                                                                ,.




   Official Form 106A/B                                                                                        Schedule A/B: Property                                                                      page 4
                                             Case 1-18-41406-cec                                             Doc 13                                      Filed 04/13/18                         Entered 04/13/18 15:31:19

         Debtor 1
                                            ArstName                 Middle Name
                                                                                                                                                                                                Casenumber(ilknown)    I -r!- 'ff(/c>G-ce c_
•&ii                                      Describe Your Financial Assets

1":bb\;Qu ·6wn o/h~&e any i~gaF~; :quitable iht~ie~t in:any of the tono~ing?
\ ·, ,,;    ,.,.    •   , • •   •• ;. •       •   , • •   ,   • ••   •    .-   •   '   '.   I   '   ".   •   •   •''   :   ~.   • "(       • .;_'.   •   ::   •: ~-   __;   :   ~   ; .•


i.
t·
!    ~:.·,..:!

       16.Cash
                   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

                   0~                                                                       '                                                                                                                                                        "      ,,.-.
                   !Ja'Yes ................................................................................................................................................................                   Cash; ..................... ..   $   (f-Js. ov
       17.Deposits of money
          Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
          ~ and other similar institutions. If you have multiple accounts with the same institution, list each.



                   0       Yes.....................                                                                        Institution name:
                                                                                                                                                                                                       /

                                                                     17.1. Checking account:                                                         [k~fi,,                               fJ   ,s-q !> OL/ &;~ 1k                             $   {:}o1Q(:}'

                                                                     17.2. Checking account:                                                                                                                                                   $
                                                                     17.3. Savings account:                                                                                                                                                    $
                                                                     17.4. Savings account:                                                                                                                                                    $
                                                                     17.5. Certificates of deposit:                                                                                                                                            $
                                                                     17.6. Other financial account                                                                                                                                             $
                                                                     17.7. Other financial account:                                                                                                                                            $
                                                                         17.B. Other financial account:                                                                                                                                        $
                                                                         17.9. Other financial account:                                                                                                                                        $



       18.Bonds, mutual funds, or publicly traded stocks
                   Exa~Bond funds, investment accounts with brokerage firms, money market accounts
                   !!(""No                                                                                                             -
                   D       Yes.................                          Institution or issuer name:

                                                                                                                                                                                                                                               $_ _ _ _ _ __

                                                                                                                                                                                                                                               $_ _ _ _ _ _ __

                                                                                                                                                                                                                                               $_ _ _ _ _ __




       19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
           an ~artnership, and joint venture

                   ffNo                                              Name of entity:                                                                                                                          % of ownership:
                   D Yes. Give specific                              ___________________________                                                                                                              0%                 %             $. _ _ _ _ _ __
                          information about
                          them .........................
                                                                                                                                                                                                              0%
                                                                                                                                                                                                              _ _ _ _ _%                       $_ _ _ _ _ _ __
                                                                                                                                                                                                                 0
                                                                                                                                                                                                              _0__1/o_ _ _%                    $._ _ _ _ _ __



                                                                                                                                                                                                                                                                    _J
         Official Form 106A/B                                                                                              Schedule A/B: Property                                                                                                        page 5
                    Case 1-18-41406-cec                               Doc 13            Filed 04/13/18      Entered 04/13/18 15:31:19

Debtor 1
                   First Name            Middle Name
                                                                                                            Casenumber(ilkno.£_-/   f- l/ (<{ o,:C:,-ee L

20. Government and corporate bonds and other negotiable and non-negotiable Instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   No7gotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

   f!'.l No
   D Yes. Give specific                  Issuer name:
       information about
                                                                                                                                         $_ _ _ _ _ __
       them .......................
                                                                                                                                         $_ _ _ _ _ __
                                                                                                                                         $_ _ _ _ _ __


21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans


   ~ s . List each
     account separately.                 Type of account:           Institution name:
                                                                                                                                         $_ _ _ _ _ __
                                         401 (k) or similar plan:

                                         Pension plan:                                                                                   $   3 'i )db. r.oe \\fe~
                                                                                                                                                            :1·
                                         IRA:                                                                                            $_ _ _ _ _ _          !
                                         Retirement account:           tli-(l.€LS                (_ lu'fL                                $   i 5 t j ]:). ?6 ri~y/".
                                         Keogh:
                                                                                                                                         $_ _ _ _ _ _ __

                                         Additional account:                                                                             $_ _ _ _ _ __

                                         Additional account:                                                                             $._ _ _ _ _ __



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities {electric, gas, water), telecommunications
   com?ies, or others

   Gi'No
   D   Yes ......................... .                         Institution name or individual:

                                         Electric:                                                                                       $_ _ _ _ _ __

                                         Gas:                                                                                            $_ _ _ _ _ __
                                         Heating oil:                                                                                    $_ _ _ _ _ _ _ __
                                         Security deposit on rental unit: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                 $_ _ _ _ _ __
                                         Prepaid rent:                                                                                   $_ _ _ _ _ _ __

                                         Telephone:                                                                                      $_ _ _ _ _ _ __
                                         Water.                                                                                          $_ _ _ _ _ __
                                         Rented furniture:                                                                               $_ _ _ _ _ _ __
                                         Other.                                                                                          $_ _ _ _ _ _ __



23.7.:'es (A contract for a periodic payment of money to you, either for life or for a number of years)



   D   Yes..........................     Issuer name and description:
                                                                                                                                         $_ _ _ _ _ __

                                                                                                                                         $_ _ _ _ _ _ __
                                                                                                                                         $_ _ _ _ _ __



Official Form 106A/B                                                        Schedule A/8: Property                                                 page 6
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                 C                                                                                                                 L-1f- "I tt O ~- cec
                                                                                                                                              1
Debtor 1                                                                                                      Case number (ffknown).~1,----------=--T_ _ _ _ __



                                                                                                                                                                                       ·,!
24. Interests In an education IRA, in an account In a qualified ABLE program, or under a qualified state tuition program.
   26 ~.c. §§ 530(b)(1), 529A(b), and 529(b)(1).                                                                                                                                         !
   0No
   D   Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                                                                                                                        $_ _ _ _ _ _ __
                                                                                                                                                        $_ _ _ _ _ __
                                                                                                                                                        $_ _ _ _ _ __



25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   ~                                              ---·--------------------------------~
   D   Yes. Give specific
       information about them ....                                                                                                                     $_ _ _ _ _ __


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Exa~: Internet domain names, websites, proceeds from royalties and licensing agreements
   ~o
   0   Yes. Give specific
       information about them ....                                                                                                                     $_ _ _ _ _ __


27. Licenses, franchises, and other general intangibles
    Exa!J)P'es: Building permits,_ exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   i3'No
   0   Yes. Give specific
       information about them ....                                                                                                                     $_ _ _ _ _ _ __



ivi~ner or prop~rty owed_ to you?                                                                                                                      · currenf ~a1u~   th~ ~t        ,
                                                                                                                                                       . portion you i>wn?.
                                                                                                                                                    . . Qo not deducfsecured
                                                                                                                                                    · · .. claims ci~ ex'~~ptions. ·

28. Tax ~ d s owed to you
   ca"No
   0   Yes. Give specific information
            about them, including whether
                                                             I                                                               Federal:                $_ _ _ _ _ _ __

                                                                                                                                                     $_ _ _ _ _ __

               ~~~ f~;f:: ;~:~t~. ~~~~~~~ . . .,.,
                                                                                                                             State:

                                                             L _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ ,                  Local:                  $_ _ _ _ _ __



29. Family support
   Exa~s: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   c1"No                                    .
   0   Yes. Give specific information ............ ..
                                                                                                                             Alimony:                   $_ _ _ _ _ __
                                                                                                                             Maintenance:               $_ _ _ _ _ __
                                                                                                                             Support:                   $_ _ _ _ _ __
                                                                                                                             Divorce settlement:        $_ _ _ _ _ __
                                                                                                                             Property settlement:       $_ _ _ _ _ __

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
    ~ Social Security benefits; unpaid loans you made to someone else

                                                                        ----------------------------,
   0   Yes. Give specific information ............. ..
                                                                                                                                                        $_ _ _ _ _ _ _ __




 Official Form 106A/B                                                     Schedule A/8: Property                                                                      page7
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Debtor 1
                  FlTSIName          Middle Name
                                                       f!-n '{/h,.,"'J :JL
                                                           Last Name


                                                                                    -·· ,... .       .   -   .   .                    '    .        .       ,...   -    ·- ..   ,._. __ :

31. Interests In insurance policies
     Exa~ Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
     13"No
     0   Yes. Name the insurance company             Company name:                                                   Beneficiary:                  Surrender or refund value:
              of each policy and list its value ....
                                                                                                                                                   $_ _ _ _ _ __

                                                                                                                                                   $_ _ _ _ _ _ __
                                                                                                                                                   $_ _ _ _ _ __

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
     pro~y because someone has died.
     13""No
     0   Yes. Give specific infonmation .............. I
                                                                                                                                                   $_ _ _ _ _ _ __
                                                           1--------------------------------'
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Exam_#; Accidents, employment disputes, insurance claims, or rights to sue
     B"'No                             .                   ------------------------------
     0   Yes. Describe each claim .....................
                                                           ~----------------------------~$_________
34. O~her
       co tingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to s     ff claims                                                                          .
         No
     0   Yes. Describe each claim .................... .
                                                       ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~ $. _ _ _ _ _ _ __



35.Any ~ i a l assets you did not already list
     GY'No                                                -----------------------------~
     0   Yes. Give specific infonmation............ .__    ______________________________.--------                                                 $




M.   ~=:-~=;~;:~: ~~~~="'.'.~~f'.~==:: :~l~di~·~~:.:='.'. '~~'.=~·~:·~~·:='.:'.~~_h::· ·: .· · · ~. .~£~}~                                                                              ;



               Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do JJiffJown or have any legal or equitable Interest in any business-related property?
     0-No. Go to Part 6.                                                                         ·
     0   Yes. Go to line 38.
                                                                                                                                               .   .    .           . ...            i.l
                                                                                                                                               Current value of. the·                 ,t
                                                                                                                                               p~rtfon y6~ <>\'.in?, · '
                                                                                                                                                Do holdedutt s~riured: clai~~
                                                                                                                                               :or ~xemptions, '·,: '

38. Ace~ receivable or commissions you already earned
     CfNo
     0   Yes. Describe ...... .
                                                                                                                                               :$_ _ _ _ _ __
                               '-------------------------------------~
39. Office equipment, furnishings, and supplies
    Ex~s: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

     i:1 No
     0   Yes. Describe .......                                                                                                                 !$_________
                                 1




Official Form 106A/B                                                    Schedule A/8: Property                                                                     page 8
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 Debtor 1                                                                                                                                                                                                            Case number             (ilknowt,-      ff -(/I lf [) l- teL
40. Mac~ry, fixtures, equipment, supplies you use In business, and tools of your trade

    !!(No
     D    Yes. Describe ...... .                                                                                                                                                                                                                                                        [$._ _ _ _ _ __



41.lnv
   ~:ory
          ~
     D    Yes. Describe ......        "l

42. inte~s in partnerships or joint ventures
     i:1"No
     D    Yes. Describe .......             Name of entity:                                                                                                                                                                                        % of ownership:
                                                                                                                                                                                                                                                   _ _ _%                                $. _ _ _ _ _ _ _ __
                                                                                                                                                                                                                                                   _ _ _%                                $_ _ _ _ _ _ __
                                                                                                                                                                                                                                                   _ _ _%                                $._ _ _ _ _ _ __


43. c
    ~uo-mer
         ~ lists, mailing lists, or other compilations
             0
     D    Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41 A))?
                  D     No
                  D     Yes. Describe ........                       !-·---------·-----··---·--------
                                                                                                                                                                                                                                                                                           $_ _ _ _ _ _ __
                                                                     /

44.An"~iness-related property you did not already list
     B'~;-
     0    Yes. Give specific
                                                                                                                                                                                                                                                                                           $
          information ........ .
                                                                                                                                                                                                                                                                                           $
                                                                                                                                                                                                                                                                                           $
                                                                                                                                                                                                                                                                                           $
                                                                                                                                                                                                                                                                                           $
                                                                                                                                                                                                                                                                                           $

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here .................................................................................................................................................... ~                                                                                            1$
                                                                                                                                                                                                                                                                                                                o. vD
                                                                                                                                                                                                                                                                                                                                                              l
                                           •• ---·   _ , . ____ • - - - . . ~ - - · · · -   -·-·------- - - - -·----· -   ---·····- -   __ , . - - · - - · - · · · · - · · - - · • • • • • •   • ---------------- -----~--·-·-·----   -   --·-·· ·--·- -----~-----"   ----·   --··- ------·--·   ___ • _______________ k   ___ ,.,. . . - - - - - - - - · -   ~
                                                                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                                                              '
                  Describe Any Farin- and Commercial Fishing-Related Property You Own or Have an Interest In.
                  If you own or have an interest in farmland, list it in Part 1.


46. Do ~ w n or have any legal or equitable interest in any farm- or commercial fishing-related property?
     0 ~o~ ~o to Part 7.
     D    Yes. Go to line 47.
                                                                                                                                                                                                                                                                                                                :>,. ,,"(· :- 1-:~ -:)- ..   ~


                                                                                                                                                                                                                                                                                          Curreht value·ofthe -

                                                                                                                                                                                                                                                                                         '.·~:~i:i~t:~:::~rJiims.~i
                                                                                                                                                                                                                                                                                          br exernpli?nsf . .                                           :.
47. Farm animals
                                                                                                                                                                                                                                                                                                                                                              i
     Ex~es: Livestock, poultry, farm-raised fish
     ii' No
     D    Yes ........................ .

                                                                                                                                                                                                                                                                                               $_________ \
                                                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                        .. ··---,--- -------·-···-····-.···--·-j

 Official Form 106A/B                                                                                                     Schedule A/8: Property                                                                                                                                                                    page 9
                           Case 1-18-41406-cec                                              Doc 13                   Filed 04/13/18                               Entered 04/13/18 15:31:19


    Debtor 1




  48. Cr~ither growing or harvested

        ~No                                   .-----------------------------------
        0     Yes. Give specific
              information ............ .                                                                                                                                                                                           $_ _ _ _ _ _ _ _

  49. Far~d fishing equipment, implements, machinery, fixtures, and tools of trade
        B°"No
         D     Yes ......................... .
                                                                                                                                                                                                                                   $_ _ _ _ _ _ __

  50.Far~d fishing supplies, chemicals, and feed
        ~o
         D     Yes ..........................



  51.An~~- and commercial fishing-related property you did not already list
        ~~····




         D     Yes. Give specific
               information ............ .                                                                                                                                                                                          $_ _ _ _ _ _ __

   52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................................... ~
                                                                                                                                                                                                                                               0-DD
                                                                                                                                                                                                                                  $_ _- - ' - - - - - -




                        Describe All Property You Own or Have an Interest in That You Did Not List Above

   53. Do you have other property of any kind you did not already list?



                                              l
        Exa~Season tickets, country club membership

                                                                                                                                                                                                                                      $_ _ _ _ _ __
        efNo
        D Yes. Give specific
               information ............ .                                                                                                                                                                                             $_ _ _ _ _ __

                                                                                                                                                                                                                                      $_ _ _ _ __



   54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. ~
                                                                                                                                                                                                                                          If"\. 0
                                                                                                                                                                                                                                      $_ __,,V~---                ::>
;· ~~----,.··-----·- .. ------..·--···- ,.....,_ - ---·-- --····-- ... ·····-- -·--·- .. ---·-·· ·-- -· ------ -··-··· --------- ·····--·-·· ---------------- -- ---------------------· ----- --- ----- --- ----------- ---·-·-----» .... ----- -----· .------ ---- ----- -----~

l§j:I                   List the Totals of Each Part of this Form
                                                                                                                                                                                                                                                                               '
   55. Part 1: Total real estate, line 2 .............................................................................................................................................................. ~                         $       l/?6,ooo ., l
                                                                                                                                                                                                                                 ·------~-~---}
   56.Part 2: Total vehicles, line 5                                                                                            $          3600,                                                                                                                               'i

   57. Part 3: Total personal and household items, line 15                                                                      $        4 ot;o.
   58. Part 4: Total financial assets, line 36                                                                                  $     13 I 57. 7//'
   59. Part 5: Total business-related property, line 45                                                                         $            D.vo
   60. Part 6: Total farm- and fishing-related property, line 52                                                                $            o.oiJ
   61. Part 7: Total other property not listed, line 54                                                                    +s· - - -D.tJV
                                                                                                                                     ---

   62. Total personal property. Add lines 56 through 61 .................... .                                             I sd-f Y7'1~ !copy personal property total~ [+s_J 1_1.ll/7 .'{[,_I
                                                                                                                                          j(




   63. Total of all property on Schedule A/B. Add line 55 + line 62 ..........................................................................................



     Official Form 106A/B                                                                             Schedule A/8: Property                                                                                                                          page 10
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 Fill in this information to identify your case:

 Debtor1
                    First                   Middle Name

 Debtor 2
 (Spouse, iffillng) First Name              Middle Name                      last Name


 United States Bankruptcy Court for the:   Et:t~       fv<:l. c....; <((?//(
                                                          District of

 Case number
  (If known)
                            I -- Lr:-   Yt'-f D l:, - ce c                                                                                              0   Check if this is an
                                                                                                                                                            amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                           04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AIB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value. under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


•§f I           Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      0   You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      0    You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


: 2. For any property you list on Schedule AIB that you claim as exempt, fill in the Information below.


     : Briefciescriptiori .<>f the property and line on       current ~a1u~ of the          Amount of the exemption you c_l13im           : Sp~pifi~ law~·tti~fal.\~{~~1f pt\;~-. ;
      · Scheduf,i   AIB thaflists. . this property           'poi"t(on you·own
      .,    . ':.. . '' ~"' .,,· - '         '... .
                                                              Copy the .;ah.ie fro.;, ; .   Check only one box/or ea-ch_ exempt/oh. .·.
                                                              Schei:Jufe AIB : ·        .

      Brief                                                   $_ _ _ _ _ _ _                0$ _ _ __
      description:
      Line from
                                                                                            0   100% of fair market value, up to
      Schedule AIB:                                                                             any applicable statutory limit


      Brief                                                   $_ _ _ _ __                   0$ _ _ __
      description:
      Line from
                                                                                            0 100% of fair market value, up to
      Schedule AIB:                                                                             any applicable statutory limit

      Brief                                                   $_ _ _ _ _ __                 0$ _ _ __
      description:
      Line from
                                                                                            0   100% of fair market value, up to
      Schedule AIB:                                                                             any applicable statutory limit


. 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01 /19 and every 3 years after that for cases filed on or after the date of adjustment.)

      0    No
      0    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           0      No
           0      Yes



Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                        page 1 of_
                       Case 1-18-41406-cec                           Doc 13            Filed 04/13/18                  Entered 04/13/18 15:31:19




  Debtor 2
  (Spouse, iffiling) First Name                     Middle Name                  Last Name

                                            f ~/""-District of /l.J-e
  United States ~nkruptcy Court for the:{:, l\ S                                   1,./       Yt1 ,r K
  Case number                I-- If- <.fll/V& - C..ec
  (If known)                                                                                                                                            0   Check if this is an
                                                                                                                                                            amended filing


 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).


1. Do any creditors have claims secured by your property?
      D      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      l:9'Yes. Fill in all of the information below.


                 List All Secured Claims



·
  2. List all secured 'claims. If a creditor has more than one secured claim, list the crediior sepa"rately
   · 'for each claim. If more than one creditor has a particular claim, list the other creditors in Pfurt 2.
      As much as possib_le, list the claims in alphabetical order according to the creditor's name.


      ft/J~~ '/,./---t~/'-/
                                                                                                             ·
                                                                                                                                  ;¥~i~fJi~if*~~f~ifF~J1
r                                                 $_ /       Do,~;b,     tho p~p,rty that~'"'" th, :,,1m,                         $   S: 8 71 0JJ.-63$ i/5~ Oda,    $     r-///tt

      Number           Street
                                              3                   d--,   Fei VVl I/                  !-IO l/ S
                                                             As of the date you file,     t   e claim ls: Check all that apply.
                      . fl                   ()               D   Contingent
      Los            v-w11e l.e .s           '-II 900~10D         Unliquidated
      City                           State    ZIP Code            Disputed

   Wh~es the debt? Check one.                                Nature of lien. Check all that apply.
   IY"Debtor 1 only                                           D   An agreement you made (such as mortgage or secured
   D    Debtor 2 only                                             car loan)
   D    Debtor 1 and Debtor 2 only                            D   Statutory lien (such as tax lien, mechanic's lien)
   D    At least one of the debtors and another               D   Judgment lien from a lawsuit
                                                              D   Other (including a right to offset) _ _ _ _ _ _ __
   D    Check if this claim relates to a
        community debt


2.2
   Date debt was incurred                                    Last 4 digits of account number          J_fJ:__~!±.=-----·-----------------~         $_ _ _ _ _ _ $_ _ _ __
                                                             Describe the property that secures the claim:                        $_ _ _ _ _ __
      Credito(s Name


      Number           Street

                                                             As of the date you file, the claim is: Check all that apply.
                                                              D   Contingent
                                                              D   Unliquidated
      City                           State    ZIP Code        D   Disputed
   Who owes the debt? Check one.                              Nature of lien. Check all that apply.
   D      Debtor 1 only                                       D   An agreement you made (such as mortgage or secured
   D      Debtor 2 only                                           car loan)
   D      Debtor 1 and Debtor 2 only                          D   Statutory lien (such as tax lien, mechanic's lien)
   D      At least one of the debtors and another             D   Judgment lien from a lawsuit
                                                              D   Other (including a right to offset) _ _ _ _ _ _ __
   D    Check if this claim relates to a
        community debt
   Date debt was incurred                                    Last 4 digits of account number _              __ _

. ·---~~-~-t~~-~~~a!_~~I~~ ofyour_entriesin Column A on_thls page.:Writetha_t_n_u_m_b_e_r_h_e_r_e._·- ~ - - - - - - - ~
                                                                                                                                                         ------·--- -----
 Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of   .1._
                             Case 1-18-41406-cec                        Doc 13                  Filed 04/13/18            Entered 04/13/18 15:31:19


   Fill in this information to identify your case:


   Debtor 1             CEASAR                                                        ANTHONY JR
                         First Name                      Middle Name                      Last Name

   Debtor 2
   (Spouse, lffiling) First Name                         MlddleName                       Last Name


   United States Bankruptcy Court for the: Eastern District of New York

   Case number
       (If known)
                             f- / f ~ 4 ( '{-tJ 6 - c_e c_                                                                                                                  D     Check
                                                                                                                                                                                  amended filing
                                                                                                                                                                                                    if this is an



 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                                     12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any: executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 AIB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space ls
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

•:.,., --~ List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         D No. Go to Part 2.
         DYes.
 ·2.     pst ai( 6(your priority ~ilsec;ured claim's. If a ~reditor-has more t~ari _one 'priority ·u_n~ecured claim, _list the cre~itor. sepatat~ly)or ~achiclain{F~f', , : .:
         eacti ·claim lisfed, identify -.vhat fype of claim it is. If ,a claim has. both. priority and non priority amounts,. Ust that ;claim her~ ,and .~h9:,V t)oth priority an~.
         nonpriority amounts'. 'i•,s' much, as possible, list the claims in i3lphabeticai order according to the ~reditor's nari]e.· If you have_ m6ie·than' two, priority .. : :
                                                                                                                     a
         unsecured claims·, fill out ttie Continuation Page of Part 1. If more thari one .creditor holds particular clairri/lislthe other-creditors iri .Part' 3;·,~ /: ' ·:

                                                                                                                                                       t{:t1.}!l~-~f~X;'.fg~!(~~~~J~~:~i~!~~~!,'.f~fr
                        '•             •             •                     •   '      •               -              •'       •   •:       C       '   ,•,   '"'"   -   '   '•   •,   ::-,.,•   -       •,,   •,   •   •




         (For an explanation of each type of claim, see the instructions forth is form iri_ the instructiqn booklet'.)'



~          ~Pn-·o-rit-y~C-,e-di-to-(s_N_a_m_e_ _ _ _ _ _ _ _ _ __
                                                                          Last 4 digits of account number _ _ _ _
                                                                                                                                                       $_ _ _ _ _ $._ _ _ _ $_ _ _ __


                                                                          When was the debt incurred?
           Number            Street

                                                                          As of the date you file, the claim is: Check all that apply.

           City                              State        ZIP Code
                                                                          D        Contingent
                                                                          D        Unliquidated
           Who incurred the debt? Check one.                              D        Disputed
           D Debtor 1 only
           D Debtor 2 only                                                Type of PRIORITY unsecured claim:
           D Debtor 1 and Debtor 2 only                                   D        Domestic support obligations
           D At least one of the debtors and another                      D        Taxes and certain other debts you owe the government
           D      Check if this claim is for a community debt             D        Claims for death or personal injury while you were
           Is the claim subject to offset?                                         intoxicated
           D No                                                           D        Other. Specify _ _ _ _ _ _ _ _ _ _ _ __
           D      Yes

                                                                          Last 4 digits of account number _               _            _       _       $. _ _ _ _ _ $._ _ _ _ _ $_ _ _ _ _
- ~Priority
      - Credito(s
            - - Name
                  ---------                                                                                                                                                                                                1
                                                                          When was the debt incurred?
           Number             Street
                                                                          As of the date you file, the claim is: Check all that apply.
                                                                          D        Contingent
           City                              State        ZIP Code        D        Unliquidated
           Who incurred the debt? Check one.                              D        Disputed
           D Debtor 1 only                                                Type of PRIORITY unsecured claim:
            D     Debtor 2 only
                                                                          D        Domestic support obligations
            D     Debtor 1 and Debtor 2 only
            D     At least one of the debtors and another
                                                                          D        Taxes and certain other debts you owe the government
                                                                          D        Claims for death or personal injury while you were
            D     Check if this claim is for a community debt                      intoxicated
           Is the claim subject to offset?                                D        Other. Specify _ _ _ _ _ _ _ _ _ _ _ __
           D No
            D     Yes


 Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                                  page 1 of_
                          Case 1-18-41406-cec                         Doc 13     Filed 04/13/18           Entered 04/13/18 15:31:19



 Fill in this information to identify your case:


 Debtor
                                                    Middle Name             Last Name

 Debtor2
 (Spouse If filing)     First Name                  Middle/am•              Last Name


 United States Bankruptcy Court for the:        C/i5W/bistrict of
 Case number             , .- /      j- l/l Cf o b ...-
  (If known)                                                                                                                                  0   Check if this is an
                                                                                                                                                  amended filing ·


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do ..~ v e any executory contracts or unexpired leases?
          ~~ ~~~ck this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          D      Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AIB: Property (Official Form 106NB).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
          example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
          unexpired leases.



          Person. or company with whom you have the col)tract or lease                              State what the contract or lease is for


2.1
          Name

          Number           Street

          City                                  State      ZIP Code
                                          ·----------~---~~---------·------------~----------------                                                                      ·..

2.21
          Name

          Number           Street

          City                       _ _ _ _ _s_ta_te-- ZIP Code
      I
~j
          Name

          Number           Street


      ,£LI>'                                    State      ZIP Code
2.41
          Name

          Number           Street

                                                State      ZIP Code
                                                                                                                      ----------~--------
          Name

          Number           Street

          City                                  State      ZIP Code


Official Form 106G                                      Schedule G: Executory Contracts and Unexpired Leases                                       page 1 of_
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 Fill in this information to identify your case:


 Debtor 1          CEASAR                                               ANTHONY JR
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, iffiling) First Name             MlddlaName                   Last Name


 United States Bankruptcy Court for the: Eastern District of New York

 Case number
  (If known)
                      /-If - q (({ O(o- cec                                                                     Check if this is:
                                                                                                                D An amended filing
                                                                                                                D A supplement showing postpetition chapter 13
                                                                                                                     income as of the following date:
Official Form 1061                                                                                                   MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not Include information about your spouse. If more space Is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                  Describe Employment


1. Fill in your employment
    information.
    If you have more than one job,
    attach a separate page with
    information about additional        Employment status                  t;!EJ!Wloyed                                           D     Employed
    employers.                                                             [J1:iot employed                                       D     Not employed

    Include part-time, seasonal, or
    self-employed work.
                                        Occupation
    Occupation may include student
    or homemaker, if it applies.
                                        Employer's name


                                        Employer's address
                                                                           Number Street                                      Number       Street




                                                                           City             .ffate       ZIP Code             City                      State ZIP Code

                                        How long employed there?                    t,,-vI I/ I

                  Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.                                                                ·
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                        · ' For- Debtci~
                                                                                                                    - ,;
                                                                                                                         1.   .: For Debtor. 2; ~r" .
                                                                                                                              •.ncin:;filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.                   2.
                                                                                                        $       v.oo                $

 3. Estimate and list monthly overtime pay.                                                       3.   +$       fJ.OD         + $


 4. Calculate gross income. Add line 2 + line 3.                                                  4.    $      0.001
                                                                                                                              I     $



Official Form 1061                                                Schedule I: Your Income                                                                     page 1
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Debtor 1       CEASAR
                 First Name         Middle Name                 Last Name
                                                                                       ANTHONY JR                              Case number(ifknown)._i-~/~_~...      _«__.~l_l/,~t)-~_              ___,C e   c_

                                                                                                                                                    i=o~   Debtor:
                                                                                                                                                                 2    :or ·.· .·
                                                                                                                                                  ' noh-filiiig spo·use .:

   Copy line 4 here ............................................................................................... ~ 4.   $        o.oD               $_ _ _ __

5. List all payroll deductions:

    Sa. Tax, Medicare, and Social Security deductions                                                               Sa.    $                           $
    Sb. Mandatory contributions for retirement plans                                                                Sb.    $                           $
    Sc. Voluntary contributions for retirement plans                                                                Sc.    $                           $
    Sd. Required repayments of retirement fund loans                                                                Sd.    $                           $
    Se. Insurance                                                                                                   Se.    $                           $
    Sf. Domestic support obligations                                                                                Sf.    $                           $
    Sg. Union dues                                                                                                  Sg.    $                           $
    Sh. Other deductions. Specify:                                                                                  Sh. +$                           + $

 6. Add the payroll deductions. Add lines Sa + Sb + Sc + Sd + Se +Sf+ Sg + Sh.                                       6.    $      v.oD                 $

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.    $      O,OD                 $

 8. List all other income regularly received:
    Ba. Net income from rental property and from operating a business,
           profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                               $_ _ _ __                   $_ _ _ __
           monthly net income.                                                                                      Sa.
     Sb. Interest and dividends                                                                                     Sb.    $_ _ _ __                   $_ _ _ __
     Be. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                           $_ _ _ __                   $_ _ _ __
           settlement, and property settlement.                                                                     Be.
    Bd. Unemployment compensation                                                                                   Bd.                                $_ _ _ _ __
                                                                                                                           $~~~--
     Be. Social Security                                                                                            Be.    $;).3      .7:;._tf.        $_ _ _ _ __

     Bf. Other government assistance that you regularly receive
                                                                                                                                      t   pe.,r
           Include cash assistance and the value (if known) of any non-cash assistance
                                                                                                                                             !fl'-
           that you receive, such as food stamps (benefits under the Supplemental
           Nutrition Assistance Program) or housing subsidies.
           Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                     Bf.

     Bg. Pension or retirement income

     Bh. Other monthly income. Specify: _A,__e-"-11-'1.S"-(-=oc.'/_1_ _ _ _ _ _ __

 9. Add all other income. Add lines Ba+ Bb + Be+ Bd + Be + Bf +Bg + Bh.
                                                                                                      per
10.Calculate monthly income. Add line 7 + line 9.
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.                                                  ·
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:______________________________                                                                                                                                  11.    +   $      D.ov
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.
                                                                                                                                                                                       Combined
                                                                                                                                                                                       monthly income
 13.Do,N6u expect an increase or decrease within the year after you file this form?
     C!' No.
     0     Yes. Explain:      I' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - .-.. -.. -___-__-.,..-.-,- - - - - - - . -
                                                                                                                                      ...-...-....-___-__-_..-...-...-....-..-_,-,
                                                                                                                                                                                .. -.....-.. -...-__-____-!_..I

Official Form 1061                                                                   Schedule I: Your Income                                                                               page 2
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      Fill in this information to identify your case:

      Debtor 1
                         First Name                    Middle Name              Last Name                          Check if this is:
      Debtor 2
      (Spouse, iffillng) First Name                    Middle Name              Last Name                          D An amended filing
                                                 :;.       .                                v    J...              D A supplement showing postpetition chapter 13
      United States Bankruptcy Court for the:   /:..c; s-k/n District of    /ug&v I 0/(,                               expenses as of the following date:
      Case number
      (If known)
                                /-( f-      l/14 Oto~                 Ce c_                                            MM/ DD/ YYYY



    Official Form 106J
    Schedule J: Your Expenses                                                                                                                                                  12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.

                       Describe Your Household

'1. Is this a joint case?

      ·~o. ,Go to line 2.
       D    Yes. Does Debtor 2 live in a separate household?

                   D No
                   D Yes. Debtor 2 must file Official Form 10BJ-2, Expenses for Separate Household of Debtor 2.
: 2. Do you have dependents?
'
                                                   ~                                            Dependent's relationship to              Dependent's                Does dependent live
       Do not list Debtor 1 and                    D       Yes. Fill out this information for Debtor 1 or Debtor 2                       age                        with you?
       Debtor 2.                                           each dependent.. ........................ - - - - - - - - - - - -
                                                                                                                                                                    0 No
       Do not state the dependents'
       names.                                                                                                                                                       D    Yes
                                                                                                                                                                    0 No
                                                                                                                                                                    D Yes
                                                                                                                                                                    D No
                                                                                                                                                                    D Yes
                                                                                                                                                                    D No
                                                                                                                                                                    D Yes
                                                                                                                                                                    D No
                                                                                                                                                                    D Yes
i3.    Do your expenses include                        ~
       expenses of people other than
       yourself and your dependents?                   D   Yes

•§ff                Estimate Your Ongoing Monthly Expenses
! Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
i expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top_ of the form and fill in the
'. applicable date.
; Include expenses paid for with non-cash government assistance if you know the value of
; such assistance and have included it on Schedule I: Your Income (Official Form 1061.)
    4. The rental or home ownership expenses for your residence. Include first mortgage payments and
       any rent for the ground or lot.                                                                                             4.
                                                                                                                                           $         3:).. 30.
         If not included in line 4:
         4a.     Real estate taxes                                                                                                 4a.     $
         4b.     Property, homeowner's, or renter's insurance                                                                      4b.     $
         4c.     Home maintenance, repair, and upkeep expenses                                                                     4c.     $
         4d.     Homeowner's association or condominium dues                                                                       4d.     $
                                                                                                                                                __ ,..,_   .   --   --

Official Form 106J                                                       Schedule J: Your Expenses                                                                         page 1
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 Debtor 1         CecL~4r
                  First Name     Middle Name
                                                                                           Case number (if known)




                                                                                                                           $._ _ _ _ _ _ __
  5. Additional mortgage payments for your residence, such as home equity loans·                                    5.

  6. Utilities:
       6a.   Electricity, heat, natural gas                                                                         6a.    $    ·-;;l..;)._         s
       6b.. Water, sewer, garbage collection                                                                        6b.    $     !OD
       6c.   Telephone, cell phone, Internet, satellite, and cable services                                         6c.    $           35-
       6d.   Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                 6d.    $
  7. Food and housekeeping supplies                                                                                 7.     $      ,9.lO.
  8. Childcare and children's education costs                                                                       8.     $
  9. Clothing, laundry, and dry cleaning                                                                            9.     $               4'.5.
:10.   Personal care products and services                                                                          10.    $                  s.
                                                                                                                                            5---
'11. Medical and dental expenses                                                                                    11.    $
·12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                           $
       Do not include car payments.                                                                                 12.

'13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.    $
·14_   Charitable contributions and religious donations                                                             14.    $
: 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                          15a.   $
       15b. Health insurance                                                                                        15b.   $
       15c. Vehicle insurance                                                                                       15c.   $       ;J.lO.
       15d. other insurance. Specify:                                                                               15d.   $

,16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                     16.    $

117. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                              17a.   $

       17b. Car payments for Vehicle 2                                                                              17b.   $
       17c. Other. Specify:                                                                                         17c.   $

       17d. Other. Specify:                                                                                         17d.   $

 18. Your payments of alimony, maintenance, and support that you did not report as deducted from
     your pay on line 5, Schedule I, Your Income (Official Form 1061).                                               18.
                                                                                                                           $

:19_ Other payments you make to support others who do not live with you.
       Specify:                                                                                                      19.   $

:20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule /: Your Income.

       20a. Mortgages on other property                                                                             20a.   $

       20b. Real estate taxes                                                                                       20b.   $
       20c. Property, homeowner's, or renter's insurance                                                            20c.   $
       20d. Maintenance, repair, and upkeep expenses                                                                20d.   $
       20e. Homeowner's association or condominium dues                                                             20e.   $
                                                                                                                                   •   •• . - - -   ,r- -   -•   _,_,   -   ·-·- •   -·- - -~



Official Form 106J                                             Schedule J: Your Expenses                                                                         page2
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  Debtor 1                                                                                       Case number (ii known)
                  First Name    Mlddle Name




;21.    Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                            21.   +$._ _ _ _ _ _ __


i22.    Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                                  22a.      $    4 l l 00-
                                                                                                                                      i
        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                          22b.      $
        22c. Add line 22a and 22b. The result is your monthly expenses.                                               22c.      $    l/1 Ito.
:23. Calculate your monthly net income.

       23a.   Copy line 12 (your combined monthly income) from Schedule I.                                            23a.       $   3, ~ ~9. 7t/
       23b.   Copy your monthly expenses from line 22c above.                                                         23b.      -$   Y1l00
                                                                                                                                       ,.
       23c.   Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                                  23c.
                                                                                                                                 $    7'70.;;i.,1

:24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       ~
       0   Yes.     Explain here:
                                                                 0   .Vl




Official Form 106J                                           Schedule J: Your Expenses                                                           page 3
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Debtor 2
(Spouse, if filing) First Name               Mid' Name                  Last Name
                                 .·     ~ ~                                         o.
United States B~nkruptcy Court for the/::::4.l'  v1      District of   Jlt./~,.,./ {(/ ~1__
Case number
(If known)
                          l-ti:-- <11qob-                         ue .
                                                                                                                                      D Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
                                                                                             .                    '               .
  Declaration About an Individual ·Debtor's Schedules                                                                                              12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.5.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        0    No
        D    Yes. Name of person._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach Bankruptcy Petition Preparers Notice, Declaration, and
                                                                                                 Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




          Signature of Debtor 1                                            Signature of Debtor 2 '


         Date    'Lit>{ ~/J{ tr'
                 MM/ DD          /    YYYY
                                                                           Date _ _ _ _ __
                                                                                MM/ DD / YYYY




  Official Form 106Dec                                          Declaration About an Individual Debtor's Schedules
